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      4

      5   Attorney for Defendant
          RICHARD ORSOUPHAKHETH
      6

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      8
                                  IN THE UNITED STATED DISTRICT COURT
      9
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
     10

     11
          UNITED STATES OF AMERICA,                         ) Case No.: 1:07-cr-00268 OWW
     12                                                     )
                         Plaintiff,                         ) STIPULATION TO EXTEND
     13                                                     ) SURRENDER DATE
                 vs.                                        )
     14                                                     )
          RICHARD ORSOUPHAKEHETH,                           )
     15                                                     )
                         Defendant.                         )
     16
                  It is hereby stipulated by and between the parties hereto, through their respective
     17
          attorneys of record, as follows:
     18
                  The defendant in this matter has been sentenced and is scheduled to self-surrender on
     19
          February 11, 2010. Counsel has been informed that Bureau of Prisons has designated the
     20
          defendant to a facility in the state of Mississippi. Such a location will impose a significant
     21
          hardship on defendant’s family and additional time is needed to explore a change in assignment
     22
          by the Bureau of Prisons to an institution in or closer to California. It is, therefore, respectfully
     23
          requested that the defendant’s surrender date be extended to March 11, 2010 for this purpose.
     24
          Dated: February 8, 2010
     25
                                                                  /s/ Carl M. Faller_____
     26                                                           CARL M. FALLER
                                                                  Attorney for Defendant
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      1
                                                               BENJAMIN WAGNER
      2                                                        United States Attorney

      3
                                                         By    /s/ Laurel J. Montoya_____
      4                                                        LAURAL J. MONTOYA
                                                               Assistant U.S. Attorney
      5
                                                               Attorney for the United States
      6

      7          ORDER:

      8          Based upon the stipulation of the parties and good cause appearing, it is hereby
      9
          ORDERED that the defendant’s surrender date be extended until March 11, 2010, at the
     10
          designated institution or the United States Marshal’s Office in Fresno.
     11
          DATED: February 9, 2010
     12                                                        /s/ OLIVER W. WANGER
                                                               OLIVER W. WANGER
     13
                                                               Senior United States District Judge
     14

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